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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA and                  )
THE STATE OF GEORGIA                          )
ex rel. BETTY RINER                           )
                                              )
      Plaintiff-Relator,                      )
                                              )
v.                                            )      Civil Case No:
                                              )      1:19-cv-4316-MLB
COMMUNITY PRIMARY CARE OF                     )
GEORGIA, LLC (a/k/a Ga MedGroup),             )
                                              )
      Defendant.                              )

       RELATOR’S MOTION FOR LEAVE TO FILE SURREPLY TO
          DEFENDANT’S REPLY (DOC. 78), AND SURREPLY

      Relator moves for leave to file a surreply to Defendant’s Reply (Doc. 78) on

Defendant’s Motion to Dismiss (Doc. 73) for the narrow purpose of responding to

Defendant’s argument, raised for the first time in Reply, that Relator’s complying

with Defendant’s request to alter language in a dismissal notice put her “on notice

that [Defendant] did not own or control the other defendants, including the

facilities.” Doc. 78 at 3.

I. Relator should be granted the opportunity to respond to the argument and
facts Defendant raises in its Reply.

      As this Court has previously noted in a different case, the Court “may in its

discretion permit the filing of a surreply,” but it should do so “only where a valid
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reason for such briefing exists, such as where the movant raises new arguments in

its reply brief.” Bennett Int’l Grp., LLC v. Allied World Specialty Ins. Co., 2022

WL 94525, at *1 (N.D. Ga. Jan. 10, 2022) (quotation marks omitted); see also,

e.g., Henley v. Turner Broad. Sys., 267 F. Supp. 3d 1341, 1349 (N.D. Ga. 2017)

(“Such filings will typically be accepted by the Court only in unusual

circumstances, such as where a movant raises new arguments or facts in a reply

brief, or where a party wishes to inform the Court of a new decision or rule

implicating the motion under review.” (quotation marks omitted and emphasis

supplied)). “Where a reply merely responds to arguments in the other party’s

response brief and does not advance new arguments, or where the surreply does

not speci[fic]ally identify the other party’s new arguments, the Court will likely

deny the motion for surreply.” Bennett Int’l Grp., 2022 WL 94525, at *1

(quotation marks omitted and some punctuation marks altered).

      Defendant did not raise the argument or facts regarding the dismissal notices

in its Motion to Dismiss Relator’s Second Amended Complaint. See Doc. 73-1 at

2 (relating the procedural event only as follows and citing only the original

dismissal notice (Doc. 40), not the amended dismissal notice (Doc. 41):

“Following a motion to dismiss, Relator voluntarily dismissed all Defendants

except CPC.”). Relator did not discuss the notices in her Response brief. See Doc.


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76. Therefore, the argument does not merely “respond[] to arguments in

[Relator]’s response brief.” Bennett Int’l Grp., 2022 WL 94525, at *1 (citation

omitted). Finally, in this filing, Relator has specifically identified the new

argument and facts. Accordingly, the Court “may in its discretion permit the filing

of a surreply.” Id.

      Relator responds to the new argument below.

II. The Notices of Voluntary Dismissal did not put Relator “on notice” of
Defendant’s ownership or control of the facilities, a highly-contested issue of
material fact supported by the allegations in Relator’s Complaint.

      Relator filed a Notice of Voluntary Dismissal Pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(i) on November 10, 2021. Doc. 40. Relator stated:

“The Relator’s claims remain pending against Community Primary Care of

Georgia, LLC, which owns and controls all other entities originally named in the

complaint.” Id. at 2. After Defendant’s counsel requested via email that Relator

delete the clause following the comma, Relator filed an Amended Notice of

Voluntary Dismissal of Certain Defendants Pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(i), which adhered to the request. See Doc. 41 at 2. By

doing so, Relator was extending a professional courtesy on an issue that was not

germane to the filing. Indeed, as Relator pointed out in briefing on the previous

motion to dismiss, in its email requesting the change Defendant itself called the


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change immaterial to the dismissals. Doc. 54 at 9 n.2.

      Defendant’s email requesting Relator file the Amended Notice put Relator

on notice that Defendant would potentially contend that it did not own or control

the facilities at issue. But—for all the reasons discussed in the Second Amended

Complaint (Doc. 67), Relator’s Response to Defendant’s Motion to Dismiss

Relator’s Second Amended Complaint (Doc. 76), and Relator’s Response to

Defendant’s Request to Take Judicial Notice (Doc. 77)—ownership and control of

the facilities remains a highly-contested issue of material fact. An uncontested

notice of dismissal altered as a professional courtesy to counsel for Defendant does

nothing to change that, and the change is not relevant to Defendant’s Motion to

Dismiss.

                                 CONCLUSION

      Defendant argues, for the first time in its Reply, that by agreeing to

Defendant’s request to make immaterial changes to her notice of voluntary

dismissal at Defendant’s request, Relator was “on notice that [Defendant] did not

own or control the other defendants, including the facilities.” Because the

argument is brought up for the first time in Reply and the dismissals are not

discussed in the Response to which the Reply is made, Relator requests that her

surreply be considered. And, in her surreply, Relator Riner states that the notice


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was amended at Defendant’s request after Defendant noted that the change was

immaterial. Nothing in the notices of dismissal mitigates the allegations that

Defendant owns and/or controls the facilities at issue.

      This 26th day of September 2022.


STACEY EVANS LAW                              THE CLAIBORNE FIRM P.C.

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                     LOCAL RULE 7.1(D) CERTIFICATE

      The undersigned counsel certifies that this Brief has been prepared with one

of the font and point selections approved by the Court in Local Rule 5.1.

      This 26th day of September 2022.


                                      /s/ Stacey Godfrey Evans
                                      Stacey Godfrey Evans
                                      Georgia Bar No. 298555

                                      Counsel for Relator




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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing RELATOR’S

MOTION FOR LEAVE TO FILE SURREPLY TO DEFENDANT’S REPLY

(DOC. 78), AND SURREPLY with the Clerk of Court using the EM/ECF system,

which will automatically send e-mail notification of such filing to the attorneys of

record.

      This 26th day of September 2022.


                                       /s/ Stacey Godfrey Evans
                                       Stacey Godfrey Evans
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                                       Counsel for Relator




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